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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION
                                     www.flmb.uscourts.gov

In re:
CFRA HOLDINGS, LLC                                       Case No. 8:20-bk-03608-CPM
                                                         Chapter 11

                                                         Jointly Administered with:
CFRA, LLC
CFRA TRI-CITIES, LLC                                     Case No. 8:20-bk-03609-CPM
                                                         Case No. 8:20-bk-03610-CPM

                                Debtors.
                                                   /

                GLOBAL NOTES REGARDING DEBTORS’ SCHEDULES OF
           ASSETS AND LIABILITIES AND STATEMENT OF FINANCIAL AFFAIRS

        The Schedules of Assets and Liabilities (the “Schedules”) and Statement of Financial
Affairs (the “SOFA” and, collectively with the Schedules, the “Schedules and Statements”)
filed herewith by the debtors (the “Debtors”) in the above-captioned cases were prepared
pursuant to section 521 of title 11 of the United States Code (the “Bankruptcy Code”) and Rule
1007 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) by the Debtors
and have not been subject to audit, review or any similar financial analysis. While the Debtors
have made every reasonable effort to ensure that the Schedules and Statements are accurate and
complete based upon information that was available to them at the time of preparation, there can
be no assurance as to their accuracy and completeness, and the subsequent receipt of information
may result in material changes to the financial data and other information contained therein. The
Debtors’ management consists solely of the Debtors’ Chief Restructuring Officer, who relied
entirely on the books and records of the Debtors as provided by the Debtors’ prior management
and/or the corporate owners of the Debtors in preparing the Schedules and Statements. The
Debtors used their best efforts to present the information set forth in the Schedules and
Statements from these books and records that were, to the best of the Debtors’ knowledge and
understanding, maintained in the ordinary course of business. The Debtors reserves the right to
amend the Schedules and Statements from time to time as may be necessary or appropriate.
These Global Notes Regarding Debtors’ Schedules of Assets and Liabilities and Statement of
Financial Affairs (the “Global Notes”) are incorporated by reference in, and comprise an integral
part of, the Schedules and Statements, and should be referred to and reviewed in connection with
any review of the Schedules and Statements.

        1.      Description of the Cases and “as of” Information Date. Unless otherwise
indicated in the Schedules or Statements or herein, the asset and liability information provided is
as of the date upon which the Debtors filed voluntary petitions under chapter 11 of the
Bankruptcy Code (the “Petition Date”) with the United States Bankruptcy Court for the Middle



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District of Florida (the “Bankruptcy Court”).

        2.      Basis of Presentation. Although, as noted above, the Debtors have used their best
efforts to present accurate information, the amount of the Debtors’ actual assets and liabilities
could differ from the amounts set forth in the Schedules and Statements. In addition, some of the
Debtors’ scheduled assets and liabilities are unknown and/or unliquidated at this time. In such
cases, the amounts may be listed as “unknown” or, with respect to certain assets, may be listed at
net book value. Amounts listed as “unknown” are ascribed a $0 value when calculating
summaries and subtotals (i.e., lines 80 through 92 on Schedule A/B for each Debtor), which
should not be taken as an indication by the Debtors’ that any such assets have no value; all such
summaries and subtotals are calculated automatically and are for informational purposes only.
Given the differences between the information requested in the Schedules and Statements and
the presentation of the financial information under generally accepted accounting principles in
the United States (“GAAP”), the aggregate asset values and claim amounts set forth in the
Schedules and Statements do not necessarily reflect the amounts that would be set forth in a
balance sheet prepared in accordance with GAAP.

       3.     Summary of Significant Reporting Policies. The following conventions were
adopted by the Debtors in the preparation of the Schedules and Statements:

                    (a)       Accounts Receivable. Accounts Receivable generally are presented on a
             gross basis.

                    (b)     Causes of Action. The Debtors are still investigating the existence of any
             potential causes of action that may be listed on Questions 74 and 75 of Schedule A/B.
             The Debtors reserve all rights with respect to any such claims or causes of action it may
             have and neither these Global Notes nor the Schedules and Statements shall be deemed a
             waiver of any such causes of action.

                     (c)    Schedule D - Secured Claims. The Debtors have not included on
             Schedule D claims that may be secured through setoff rights, deposits posted by or on
             behalf of the Debtors, or inchoate statutory lien rights. Such counterparties, if any, have
             been listed on Schedule F or Schedule G, as applicable. The Debtors reserve the right to
             dispute or challenge the extent, validity, perfection or immunity from avoidance of any
             lien purported to be granted or perfected in any specific asset to a secured creditor listed
             on Schedule D. Secured claim amounts have been listed on Schedule D without regard to
             the value of assets securing such claims. No attempt was made by the Debtors to
             estimate the fair market value as of the Petition Date of assets pledged pursuant to a
             secured obligation. No claim set forth on Schedule D of any Debtor is intended to
             acknowledge claims of creditors that are otherwise satisfied or discharged by other
             entities. The descriptions provided in Schedule D are intended only to be a summary.
             Reference to the applicable loan agreements and related documents is necessary for a
             complete description of the collateral and the nature, extent and priority of any liens.
             Nothing in the Global Notes or the Schedules and Statements shall be deemed a
             modification or interpretation of the terms of such agreements.

                        (d)   Schedule E/F – Priority and Unsecured Claims. Although the Debtors


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             may have scheduled claims of various creditors as priority claims, the Debtors reserve all
             rights to dispute or challenge the priority treatment of any such creditor’s claim (or
             portion thereof) or the characterization of the structure of any such transaction or any
             document or instrument related to such creditor’s claim. The claims of individual
             creditors for, among other things, goods, services, or taxes are listed at the amounts listed
             on the Debtors’ books and records and may not reflect credits or allowances due from
             such creditor, or any additional amounts that might be owed to such creditor as a result of
             either unbilled or unprocessed invoices. The dollar amounts listed may also be exclusive
             of contingent and unliquidated amounts. The Debtors expressly incorporate by reference
             into Schedule E/F all parties to pending and potential pending litigation with the Debtors,
             as listed in the Debtors’ Statements, as contingent, unliquidated, and disputed claims to
             the extent not already listed in the schedule.

                     (e)      Schedule G - Executory Contracts/Unexpired Leases. While every
             reasonable effort has been made to ensure the accuracy of Schedule G regarding
             executory contracts and unexpired leases, inadvertent errors or omissions may have
             occurred. Without limitation of the foregoing, the contracts, agreements, and leases listed
             on Schedule G may have expired or may have been modified, amended, supplemented or
             terminated from time to time by various amendments, restatements, waivers, estoppel
             certificates, letters, and other documents, instruments, and agreements which may not be
             listed therein. Certain of the leases and contracts listed on Schedule G may contain
             certain renewal options, guarantees of payment, options to purchase, rights of first
             refusal, and other miscellaneous rights. Such rights, powers, duties, and obligations are
             not set forth on Schedule G. Certain of the Debtors’ executory agreements may not have
             been memorialized in writing and could be subject to dispute. The presence of a contract
             or agreement on Schedule G does not constitute an admission that such contract or
             agreement is an executory contract or unexpired lease. Similarly, the absence of a
             contract or agreement on Schedule G does not constitute an admission that any other
             contract or agreement to which a Debtor is a party is not executory. Parties to executory
             contracts and unexpired leases were not listed on Schedule E/F, except where past due
             amounts were recorded in the Debtors’ accounts payable. The Debtors have not listed on
             Schedule E/F landlords and executory contract counterparties which may have claims
             related to contract/lease rejection or other damages.

        4.     Global Notes Control. In the event that the Schedules and Statements differ from
the foregoing Global Notes, the Global Notes shall control.




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 Fill in this information to identify the case:

 Debtor name            CFRA Holdings, LLC

 United States Bankruptcy Court for the:                       MIDDLE DISTRICT OF FLORIDA

 Case number (if known)               8:20-bk-03608-CPM
                                                                                                                                                                                    Check if this is an
                                                                                                                                                                                        amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                    12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                   $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                      $                    0.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                     $                    0.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                   $                    0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                      $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                              +$                    0.00


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                            $                      0.00




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
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 Fill in this information to identify the case:

 Debtor name         CFRA Holdings, LLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)         8:20-bk-03608-CPM
                                                                                                                              Check if this is an
                                                                                                                                 amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                 12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

     No.    Go to Part 2.
     Yes Fill in the information below.
    All cash or cash equivalents owned or controlled by the debtor                                                               Current value of
                                                                                                                                 debtor's interest

 Part 2:        Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

     No.    Go to Part 3.
     Yes Fill in the information below.

 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

     No.    Go to Part 4.
     Yes Fill in the information below.

 Part 4:        Investments
13. Does the debtor own any investments?

     No. Go to Part 5.
     Yes Fill in the information below.
                                                                                                     Valuation method used        Current value of
                                                                                                     for current value            debtor's interest

 14.       Mutual funds or publicly traded stocks not included in Part 1
           Name of fund or stock:

 15.       Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
           partnership, or joint venture
           Name of entity:                                               % of ownership


           15.1.     CFRA, LLC                                                      100       %      N/A                                      Unknown



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                       page 1
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 Debtor         CFRA Holdings, LLC                                                           Case number (If known) 8:20-bk-03608-CPM
                Name




            15.2.    CFRA Tri-Cities, LLC                                           100       %      N/A                                Unknown



 16.        Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
            Describe:

 17.        Total of Part 4.                                                                                                            $0.00
            Add lines 14 through 16. Copy the total to line 83.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

     No.    Go to Part 6.
     Yes Fill in the information below.

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

     No.    Go to Part 7.
     Yes Fill in the information below.

 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No.    Go to Part 8.
     Yes Fill in the information below.

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No.    Go to Part 9.
     Yes Fill in the information below.

 Part 9:        Real property
54. Does the debtor own or lease any real property?

     No.    Go to Part 10.
     Yes Fill in the information below.

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

     No.    Go to Part 11.
     Yes Fill in the information below.

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

     No.    Go to Part 12.
     Yes Fill in the information below.


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                              page 2
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 Debtor          CFRA Holdings, LLC                                                                                  Case number (If known) 8:20-bk-03608-CPM
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                     $0.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                               $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                                      $0.00       + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                         $0.00




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 3
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 Fill in this information to identify the case:

 Debtor name         CFRA Holdings, LLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)         8:20-bk-03608-CPM
                                                                                                                            Check if this is an
                                                                                                                                amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                        12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?

      No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
      Yes. Fill in all of the information below.




Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                     page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         CFRA Holdings, LLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)          8:20-bk-03608-CPM
                                                                                                                                                    Check if this is an
                                                                                                                                                       amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                       12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

           No. Go to Part 2.
           Yes. Go to line 2.

 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                    Unknown
           IHOP Franchisor, LLC                                               Contingent
           450 North Brand Boulevard
           7th Floor
                                                                              Unliquidated
           Glendale, CA 91203                                                 Disputed
           Date(s) debt was incurred                                         Basis for the claim:    Guarantee of Franchise Agreements
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                    Unknown
           IHOP Leasing, LLC                                                  Contingent
           450 North Brand Boulevard
           7th Floor
                                                                              Unliquidated
           Glendale, CA 91203                                                 Disputed
           Date(s) debt was incurred                                         Basis for the claim:    Guarantee of Franchise Agreement
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                    Unknown
           IHOP Restaurants, LLC                                              Contingent
           450 North Brand Boulevard
           7th Floor
                                                                              Unliquidated
           Glendale, CA 91203                                                 Disputed
           Date(s) debt was incurred                                         Basis for the claim:    Guarantee of Franchise Agreement
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                    Unknown
           Raymond James Bank, N.A.                                           Contingent
           710 Carillon Parkway
           Saint Petersburg, FL 33716
                                                                              Unliquidated
                                                                              Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Guarantee of Loan
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes



Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                         page 1 of 2
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 Debtor       CFRA Holdings, LLC                                                                      Case number (if known)            8:20-bk-03608-CPM
              Name

 3.5       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 Unknown
           Valley National Bank                                               Contingent
           4790 140th Avenue North
           Clearwater, FL 33762
                                                                              Unliquidated
                                                                              Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Guarantee of Loan
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                              0.00
 5b. Total claims from Part 2                                                                            5b.    +   $                              0.00

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                                0.00




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 2 of 2
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 Fill in this information to identify the case:

 Debtor name         CFRA Holdings, LLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)         8:20-bk-03608-CPM
                                                                                                                                 Check if this is an
                                                                                                                                    amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                 12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules.   There is nothing else to report on this form.
        Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal             Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         CFRA Holdings, LLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)         8:20-bk-03608-CPM
                                                                                                                           Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

  No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
  Yes
   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                  Name                            Check all schedules
                                                                                                                                that apply:

    2.1      CFRA Tri-Cities,                  1340 Hamlet Avenue                               Raymond James                   D
             LLC                               Clearwater, FL 33756                             Bank, N.A.                       E/F        3.4
                                                                                                                                G



    2.2      CFRA Tri-Cities,                  1340 Hamlet Avenue                               Valley National Bank            D
             LLC                               Clearwater, FL 33756                                                              E/F        3.5
                                                                                                                                G



    2.3      CFRA, LLC                         1340 Hamlet Avenue                               IHOP Franchisor,                D
                                               Clearwater, FL 33756                             LLC                              E/F        3.1
                                                                                                                                G



    2.4      CFRA, LLC                         1340 Hamlet Avenue                               IHOP Leasing, LLC               D
                                               Clearwater, FL 33756                                                              E/F        3.2
                                                                                                                                G



    2.5      CFRA, LLC                         1340 Hamlet Avenue                               IHOP Restaurants,               D
                                               Clearwater, FL 33756                             LLC                              E/F        3.3
                                                                                                                                G




Official Form 206H                                                       Schedule H: Your Codebtors                                          Page 1 of 2
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                            Case 8:20-bk-03608-CPM                    Doc 108    Filed 06/03/20         Page 13 of 14

 Debtor       CFRA Holdings, LLC                                                       Case number (if known)   8:20-bk-03608-CPM


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.6      CFRA, LLC                         1340 Hamlet Avenue                           Raymond James                D
                                               Clearwater, FL 33756                         Bank, N.A.                    E/F       3.4
                                                                                                                         G



    2.7      CFRA, LLC                         1340 Hamlet Avenue                           Valley National Bank         D
                                               Clearwater, FL 33756                                                       E/F       3.5
                                                                                                                         G




Official Form 206H                                                      Schedule H: Your Codebtors                                   Page 2 of 2
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 Fill in this information to identify the case:

 Debtor name         CFRA Holdings, LLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)         8:20-bk-03608-CPM
                                                                                                                                      Check if this is an
                                                                                                                                         amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                              12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                 Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

                 Schedule H: Codebtors (Official Form 206H)
                 Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                 Amended Schedule
                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                 Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          June 3, 2020                            X /s/ J. Tim Pruban
                                                                       Signature of individual signing on behalf of debtor

                                                                       J. Tim Pruban
                                                                       Printed name

                                                                       Chief Restructuring Officer
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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